               IN THE DISTRICT COURT OF THE UNITED STATES
              FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                           ASHEVILLE DIVISION
                                1:12 CR 20-5


UNITED STATES OF AMERICA,                    )
                                             )
Vs.                                          )            ORDER
                                             )
KEITH ARTHUR VINSON.                         )
                                             )
____________________________________         )


        THIS MATTER came on to be heard before the undersigned pursuant to a

Motion For Status of Counsel Hearing (#313) filed by the Defendant acting pro se.

In the motion, it appears that the Defendant is requesting that counsel be

substituted for his present appointed counsel, attorney John Clark Fischer. Upon

the call of this matter on for hearing, it appeared that Defendant was present, Mr.

Fischer was present, and the Government was present and represented through

Assistant United States Attorney Don Gast. From the records in this cause and the

inquiry made by the undersigned with Defendant in a sealed proceeding, and from

the arguments of Mr. Gast and the arguments of Mr. Fischer, the Court makes the

following findings:

        Findings. The Defendant was charged in a multiple count indictment (#1)

and a Second Superseding Bill of Indictment (#269) with multiple criminal

violations concerning fraudulent loans from financial institutions related to a real
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      Case 1:12-cr-00020-MR-SCR    Document 314     Filed 02/25/14   Page 1 of 6
estate development in Western North Carolina. Upon request of Defendant, the

undersigned entered an Order appointing counsel to represent the Defendant and

Attorney John Clark Fischer was appointed to represent the Defendant in this

matter. The trial of the charges against Defendant was conducted before United

States District Martin Reidinger in October 2013 which led to a jury verdict

adverse to Defendant being entered on October 18, 2013. Judge Reidinger then

directed that the terms and conditions of pretrial release of Defendant be revoked

and the Defendant be detained pending sentencing.

      On January 13, 2014, Attorney Matthew E. Orso of Charlotte, NC entered a

general appearance on behalf of Defendant as retained counsel (#302). On January

21, 2014, Mr. Orso filed a Motion to Withdraw as Counsel (#306) for Defendant

which motion was allowed on January 30, 2014 (#309).            Sentencing on the

Defendant is pending and it has been estimated by the United States Probation

Office that the Presentence Report will be completed within the next two to three

months.

      After the call of the Defendant’s motion, the undersigned presented the issue

as to whether or not it would be necessary to make an inquiry with Defendant and

during conducting such an inquiry, whether or not confidential communications

between Defendant and Mr. Fischer might be disclosed. The Government objected

to the Court conducting a sealed proceeding. This objection was overruled by the
                                        2



   Case 1:12-cr-00020-MR-SCR      Document 314      Filed 02/25/14   Page 2 of 6
undersigned and the undersigned made an inquiry of Defendant in a sealed

proceeding as shall be shown in the sealed record.

         After conducting the sealed proceeding, the undersigned reopened the

proceeding and invited Mr. Gast to reenter the courtroom.             The undersigned

advised Mr. Gast the majority of the discussions during the inquiry with Defendant

did involve confidential communications between Defendant and Mr. Fischer or

Mr. Orso and other attorneys. Mr. Gast objected to the Motion to Withdraw of the

Defendant.

         Discussion. An indigent Defendant has no right to have a particular lawyer

represent him or her and can demand a different appointed attorney only with good

cause.     US v. Allen, 789 F.2d 90, 92 (1st Cir. 1986). The determination of

whether or not the motion for substitution of counsel should be granted is within

the discretion of the trial court and the court is entitled to take into account the

countervailing state interest in proceeding on schedule. Morris v. Slappy, 461 U.S.

1 (1983). In considering the motion herein, the undersigned has considered the

following factors:     (1) timeliness of the motion; (2) made an inquiry as to the

reasons why the Defendant does not wish for Mr. Fischer to represent him further;

and (3) whether or not there is such a conflict between the Defendant and Mr.

Fischer that is so great it has resulted in a total lack of communication preventing

an adequate defense. United States v. Gallop, 838 F.2d 105 (4th Cir. 1988).
                                          3



    Case 1:12-cr-00020-MR-SCR       Document 314     Filed 02/25/14     Page 3 of 6
      First considering the timeliness of the mother, the undersigned has

determined that this factor must be weighed in favor of denying the motion of

Defendant. To substitute counsel at a time shortly before sentencing would give

substitute counsel only a short period of time to become familiar with what appears

from the court file to be an expansive record. From previous hearings that this

Court held in regard to discovery disputes, the undersigned is advised that there are

well over 200,000 pages of documents that would have to be reviewed by

substitute counsel in addition to a review of the trial transcript which may have not

yet been prepared. To place such a burden on new counsel would not be in the

best interest of the Defendant. Mr. Fischer has knowledge of the proceedings

against Defendant that no other attorney could have due to his length of

representation of Defendant at all stages concerning this matter.

      The undersigned inquired as to the reasons for the potential conflict between

Defendant and Mr. Fischer. The inquiry shall appear of record. After hearing

from both the Defendant and Mr. Fischer, the undersigned is of the opinion that

Mr. Fischer has been performing his job in representing Defendant.                  The

undersigned further finds there is no basis for the opinion that Mr. Fischer is not

providing good representation for the Defendant.        From discussions with the

Defendant, it appears the Defendant objects to a decision by Mr. Fischer not to

appeal a decision by the District Court revoking the terms of pretrial release of
                                          4



    Case 1:12-cr-00020-MR-SCR      Document 314      Filed 02/25/14   Page 4 of 6
Defendant further to the Fourth Circuit Court of Appeals. The undersigned does

not find that such decision by counsel should be weighed in favor of allowing

Defendant’s motion.

      The undersigned has further examined this matter to determine whether or

not there is such a conflict between Mr. Fischer and the Defendant there is a total

lack of communication between them preventing an adequate defense. It does not

appear to the undersigned that such a conflict exists between Defendant and Mr.

Fischer. Mr. Fischer is an excellent attorney who has worked diligently on behalf

of Defendant. In January, Defendant retained counsel to represent him, that being

Matthew E. Orso, Attorney of Charlotte, NC. Should Defendant desire to retain

counsel to represent him further, then a motion by Mr. Fischer to withdraw would

certainly be allowed.

      After considering all of the above factors, it appears there is little time

before sentencing within which to appoint other counsel who has the knowledge of

the case that Mr. Fischer. As a result of the inquiry made by the undersigned, the

undersigned cannot find good reason for the appointment of another attorney in

substitution of Mr. Fischer. It also appears to the undersigned there does not

appear to be a lack of communication between Mr. Fischer and the Defendant

which would prevent an adequate defense.

      Based upon the foregoing, the undersigned has determined to enter an Order
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    Case 1:12-cr-00020-MR-SCR     Document 314     Filed 02/25/14   Page 5 of 6
denying the Motion for Status of Counsel Hearing (#313) which the undersigned

has considered as a motion for substitution of counsel.

                                     ORDER

      IT IS, THEREFORE, ORDERED that the Motion for Status of Counsel

Hearing (#313) of Defendant, pro se, considered by the Court as a motion for

substitution of counsel is DENIED.

                                               Signed: February 25, 2014




                                         6



    Case 1:12-cr-00020-MR-SCR      Document 314        Filed 02/25/14      Page 6 of 6
